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     8   U.S. E UAL EMPLOYMENT
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     9                        UNITED STATES DISTRICT COURT
    10
                           SOUTHERN DISTRICT OF CALIFORNIA
    11

    12   U.S . EQUAL EMPLOYMENT                          Case No.   '18CV0852 MMA BGS
    13
         OPPORTUNITY COMMISSION,
                                                         COMPLAINT
    14                Plaintiff,                            • CIVIL RIGHTS
    15                                                      • EMPLOYMENT
             vs.                                              DISCRIMINATION
    16
         ALBERTSONS COMPANIES INC. ,
    17   AND DOES 1-5, INCLUSIVE,
    18                                                    (42 U.S.C. §§2000e, et seq.)
                      Defendants.
    19                                               JURY TRIAL DEMAND
   20

   21

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   23

   24
   25                               NATURE OF THE ACTION
   26          This is an action under Title VII of the Civil Rights Act of 1964 and Title I
   27    of the Civil Rights Act of 1991 ("Title VII") to correct unlawful employment
   28    practices on the basis of national origin and to provide appropriate relief to



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        Guadalupe Zamorano, Hermelinda Stevenson (collectively referred to herein as
    2   "Charging Parties") and a class of similarly aggrieved individuals who were
    3   adversely affected by such practices. As set forth with greater particularity in
    4   paragraph 15 of this Complaint, Plaintiff U.S. Equal Employment Opportunity
    5   Commission asserts that Defendants Albertsons Companies Inc. and Does 1-5
    6   (collectively referred to herein as "Defendants"), subjected Charging Parties and a
    7   class of similarly aggrieved individuals to harassment in violation of Title VII.
    8                                JURISDICTION AND VENUE
    9          1.        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,
   10   1331, 1337, 1343 and 1345.
   11         2.         This action is authorized and instituted pursuant to § 7 06( f)( 1) and
   12   (3) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e-
   13   5(f)(l) and (3), ("Title VII") and§ 102 of the Civil Rights Act of 1991, 42 U.S.C.
   14   § 1981(a).
              ,.,
   15         .)    .    The employment practices alleged to be unlawful were committed
   16   within the jurisdiction of the United States District Court for the Southern District
   17   of California.
   18                                            PARTIES
   19         4.        Plaintiff U.S. Equal Employment Opportunity Commission("Plaintiff,"
   20   "EEOC," or the "Commission") is an agency of the United States of America
   21   charged with the administration, interpretation and enforcement of Title VII and is
   22   expressly authorized to bring this action by§706(f)(l) and (3) of Title VII, 42
   23   U.S.C. § 2000e-5(f)(l) and (3).
   24         5.         At all relevant times, Albertsons Companies Inc. ("Albertsons") has
   25   continuously been an Idaho corporation doing business in, amongst other places,
   26   San Diego County, State of California, and has continuously had at least fifteen
   27   (15) employees.
   28         6.         At all relevant times, Defendant Albertsons has continuously been an



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        employer engaged in an industry affecting commerce within the meaning of
    2   Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§ 2000e-l (b), (g), and (h).
    3         7.     All of the acts and failures to act alleged herein were duly performed
    4   by and attributable to all Defendant(s), each acting as a successor, agent, alter ego,
    5   employee, indirect employer, joint employer, integrated enterprise and/or under the
    6   direction and control of the others, except as specifically alleged otherwise. Said
    7   acts and failures to act were within the scope of such agency and/or employment,
    8   and each Defendant participated in, approved and/or ratified the unlawful acts and
    9   omissions by the other Defendants complained of herein. Whenever and wherever
   1O reference is made in this Complaint to any act by a Defendant or Defendants, such
   11   allegations and reference shall also be deemed to mean the acts and failures to act
   12   of each defendant acting individually, jointly, and/or severally.
   13         8.     Plaintiff is ignorant of the true names and capacities of each
   14   Defendant sued as DOES 1 through 5, inclusively, and therefore Plaintiff sues said
   15   defendant( s) by fictitious names. The Commission reserves the right to amend the
   16   complaint to name each DOE defendant individually or corporately as it becomes
   17   known. Plaintiff alleges that each DOE defendant was in some manner responsible
   18   for the acts and omissions alleged herein and Plaintiff will amend the complaint to
   19   allege such responsibility when the same shall have been ascertained by Plaintiff.
   20                              STATEMENT OF CLAIMS
   21         9.     More than thirty days prior to the institution of this lawsuit, Charging
   22   Parties filed charges of discrimination with the Commission alleging violations of
   23   Title VII by Defendants.
   24         10.    Subsequent to the Charging Parties filing their charges of
   25   discrimination, the EEOC investigated the charges against Defendant Albertsons.
   26         11.    On July 10, 2017, the Commission issued to Defendant Albertsons
   27   Letters of Determination finding reasonable cause to believe that Charging Parties
   28   and a class of employees were subjected to disparate treatment and a hostile work



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         environment because of their national origin (Hispanic and/or Mexican) in
     2   violation of Title VII. The Commission made a further like and related finding
     3   that there was reasonable cause to believe that the Charging Parties and a class of
     4   similarly situated individuals were subjected to discrimination on the basis of
     5   national origin (Hispanic and/or Mexican) and/or race (Hispanic) in violation of
     6   Title VII which lead to discipline. The Commission further invited Defendant to
     7   join with the Commission in informal methods of conciliation to endeavor to
     8   eliminate the discriminatory practices and provide appropriate relief.
     9          12.   The Commission engaged in communications with Defendant
    1O Albertsons to provide Defendant with the opportunity to remedy the
    11   discriminatory practices described in the Letters of Determination.
    12          13.   The Commission was unable to secure through informal methods of
    13   conciliation, including but not limited to an in-person conciliation conference,
    14   from Defendants a conciliation agreement acceptable to the Commission.
    15          14.   On January 23, 2018, the Commission issued to Defendant Albertsons
    16   Notices of Failure of Conciliation.
    17          15.   All conditions precedent to the initiation of this lawsuit have been
    18   fulfilled.
    19          16.   Since at least 2012, Defendants have engaged in unlawful
   20    employment practices in violation of§§ 703(a)(l) and 704 of Title VII, 42 U.S.C.
   21    §§ 2000e-2(a)(l) by subjecting the Charging Parties and a class of similarly
   22    aggrieved individuals to harassment on the basis of national origin. The unlawful
   23    employment practices include but are not limited to:
   24                 a. In or about 2012, Albertsons developed an unwritten English-only
   25    policy, which Albertsons implemented as essentially a no Spanish policy. In a
   26    training video, managers and employees were instructed that employees should not
   27    speak Spanish as long as there was a non-Spanish speaking person present.
   28    Pursuant to those instructions/training, Richard Brown, Store Director of Store



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         #6785, located on Lake Murray Blvd in San Diego, California, implemented a no
     2   Spanish policy. Brown and other supervisors communicated to the Charging
     3   Parties and other Hispanic employees that they could not speak Spanish anywhere
     4   on the premises regardless of whether they were on break.
     5                b. Brown and others verbally harassed Hispanic employees, telling
     6   them not to speak Spanish, threatening them with discipline, and publicly
     7   reprimanding them for allegedly speaking Spanish.
     8                c. Charging Party Guadalupe Zamorano has worked for Defendant
     9   Albertsons since August 2007. She worked in Albertsons Store #6785 , located on
    10   Lake Murray Blvd. In October 2012, Brown reprimanded Zamorano in front of the
    11   store for speaking Spanish.
    12                d. After the counseling session, Zamorano called Albertsons ' hotline
    13   to complain about Brown ' s conduct and prohibition against speaking Spanish at
    14   work.
    15                e. Defendants failed to take corrective action in response to the
    16   complaint by the Zamorano. Upon receipt of the Charging Party Zamorano ' s
    17   complaint, a union representative investigated the complaint, and told Zamorano
    18   that she needed to speak English because she was living in the United States. There
    19   was no further action taken in regards to the complaint.
   20                 f. Charging Party Zamorano was reprimanded by Brown again on or
   21    about December 6, 2012 for speaking Spanish even though she was speaking with
   22    a Spanish-speaking customer. Brown again instructed her to only speak in English
   23    at work.
   24                 g. As a result of the harassment, Charging Party Zamorano requested
   25    a transfer to a different store on or about November 22, 2013 . She wrote on her
   26    transfer request form that she was requesting the transfer because of the
   27    harassment she was subjected to . Brown refused to submit her transfer request unti
   28    she filled out a form that did not include the statement about harassment.



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                      h. Charging Party Hermelinda Stevenson has worked for Defendant
    2    Albertsons since 1989, and was transferred to Store #6785 in August 2012. In
    3    October 2012, Stevenson was also reprimanded by Brown in front of the store for
    4    speaking Spanish for the same incident that Zamorano was reprimanded for.
     5   Charging Party Stevenson and her coworkers were prohibited by Brown and
    6    Assistant Store Director Jerri Burleson from speaking Spanish at work, even
     7   during breaks in the break room. As a result of the harassment and monitoring
     8   from management, Charging Party Stevenson and other workers would leave the
     9   premises to eat lunch in order to feel comfortable.
    1o                i. Charging Party Stevenson requested a transfer to a different store on
    11   or about June 3, 2013 in part because the harassment and other issues at work were
    12   making her physically sick, including anxiety and stomach issues.
    13                j. Other Albertsons employees were not allowed to speak Spanish and
   14    were subjected to harassment, including but not limited to one employee being
    15   instructed not to speak Spanish by a department head as managers did not like
   16    when she spoke Spanish, another employee was harassed by coworkers when she
   17    spoke in Spanish, and an employee was told by the managers that the employees
   18    could not speak Spanish anywhere even with Spanish speaking customers.
   19                 k. Other non-Hispanic employees were not subjected to harassment or
   20    subjected to the no Spanish policy.
   21          17.    The effect of the practices complained as described in paragraph 16
   22    has been to deprive Charging Parties and a class of similarly aggrieved individuals
   23    of equal employment opportunities and otherwise adversely affects their status as
   24    employees because of their national origin, Hispanic and/or Mexican.
   25          18.    The unlawful employment practices complained of in paragraph 16
   26    above were intentional and caused Charging Parties and a class of aggrieved
   27    individuals to suffer emotional distress.
   28          19.    The unlawful employment practices complained of in paragraph 16



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         above were done with malice or with reckless indifference to the federally
     2   protected rights of Charging Parties and a class of aggrieved individuals.
     3                                PRAYER FOR RELIEF
     4          Wherefore, the Commission respectfully requests that this Court:
     5          A.     Grant a permanept injunction enjoining Defendants, their officers,
     6   successors, assigns, and all persons in active concert or participation with each of
     7   them, from engaging in national origin harassment and any other employment
     8   practice which discriminates on the basis of national origin;
     9          B.     Order Defendants to institute and carry out policies, practices, and
    1O programs to ensure that they would not engage in further unlawful employment
    11   practices in violation of§§ 703(a)(l) and 704 of Title VII;
    12          C.     Order Defendants to make Charging Parties and a class of aggrieved
    13   individuals whole by providing compensation for past and future pecuniary losses,
    14   including where appropriate back pay and front pay with prejudgment interest on
    15   any lost pay and benefits, in amounts to be determined at trial;
    16          D.     Order Defendants to make Charging Parties and a class of aggrieved
    17   individuals whole by providing compensation for past and future non-pecuniary
    18   losses resulting from the unlawful employment practices complained of above,
    19   including emotional pain, suffering, inconvenience, mental anguish, humiliation
   20    and loss of enjoyment oflife, in amounts to be determined at trial;
   21          E.      Order each Defendant to pay Charging Parties and a class of
   22    aggrieved individuals punitive damages for its intentional, malicious, and reckless
   23    conduct described above in an amount to be determined at trial;
   24          F.      Award the Commission its costs of this action; and
   25           G.     Grant such further relief as the Court deems necessary and proper in
   26    the public interest.
   27    III
   28    III



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    1                             JURY TRIAL DEMAND
    2        The Commission requests a jury trial on all questions of fact raised by its
    3   Complaint.
    4

    5   Dated: May 3, 2018                  Respectfully Submitted
    6
    7                                       JAMES L. LEE,
                                            Deputy General Counsel
    8
    9                                       GWENDOLYN YOUNG REAMS,
                                            Associate General Counsel
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   17                                       Regional Attorney
   18                                       SUEJ. NOH
   19                                       Supervisory Trial Attorney

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